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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

********************** *
MATTHEW GORSKI,           *
                          *                          No. 13-224V
              Petitioner, *                          Special Master Christian J. Moran
                          *
v.                        *                          Filed: January 22, 2014
                          *
SECRETARY OF HEALTH       *                          Damages; decision based on proffer;
AND HUMAN SERVICES,       *                          influenza vaccination; radial nerve
                          *                          injury.
              Respondent. *
********************** *

Anne Carrion Toale, Maglio Christopher and Toale, Sarasota, FL, for Petitioner;
Ann Donohue Martin, U.S. Department of Justice, Washington, DC, for Respondent.

                UNPUBLISHED DECISION AWARDING DAMAGES1

        On March 29, 2013, Matthew Gorski filed a petition seeking compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-1 et seq.,
alleging that the influenza (“flu”) vaccine that he received on October 22, 2010, caused
him to suffer a radial nerve injury. On October 28, 2013, the undersigned found that Mr.
Gorski is entitled to compensation under the Vaccine Act. See Decision, issued Oct. 28,
2013.

       On January 3, 2014, respondent filed a Proffer on Award of Compensation, which
petitioner agrees to. Based upon the record as a whole, the special master finds the
proffer reasonable and that petitioner is entitled to an award as stated in the proffer,
attached hereto as “Appendix A.” The court awards petitioner:




       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      A lump sum payment of $100,000.00 in the form of a check payable to
      petitioner, Matthew Gorski. This amount represents compensation for all
      damages that would be available under 42 U.S.C. §300aa-l 5(a).

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.

      Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-6353.

      IT IS SO ORDERED.

                                               s/Christian J. Moran
                                               Christian J. Moran
                                               Special Master
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
MATTHEW GORSKI,                      )
                                     )
            Petitioner,              )
                                    )   No. 13-224V
      v.                            )   Special Master Moran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$100,000.00, which represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $100,000.00 in the form of a check payable to petitioner.

Petitioner agrees.

                                                    Respectfully submitted,

                                                    STUART F. DELERY
                                                    Assistant Attorney General

                                                    RUPA BHATTACHARYYA
                                                    Director
                                                    Torts Branch, Civil Division

                                                    VINCENT J. MATANOSKI
                                                    Deputy Director
                                                    Torts Branch, Civil Division
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                                          LINDA S. RENZI
                                          Senior Trial Counsel
                                          Torts Branch, Civil Division

                                          s/ ANN D. MARTIN
                                          ANN D. MARTIN
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                                          Tel.: (202) 307-1815

DATED: January 3, 2014




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